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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                      CASE NO. 17-60907-CIV-MORENO

  FEDERAL TRADE COMMISSION, et al.,

           Plaintiffs,
  v.

  JEREMY LEE MARCUS, et al.,

        Defendants.
  ______________________________________/

         RECEIVER’S MOTION TO APPROVE CONTINGENCY FEE AGREEMENT

           Jonathan E. Perlman, Esq., as Receiver (“Receiver”) for the Receivership Entities, 1

  moves the Court to approve the Receiver’s retention of Genovese Joblove & Battista, P.A.

  (“GJB”) on a contingency basis to pursue certain litigation claims2 on behalf of the receivership

  estate against various third parties (the “Motion”).

                                            I.        INTRODUCTION

           During his investigation, the Receiver has identified claims against various third parties

  for fraudulent transfers under Chapter 726 of the Florida Statutes, common tort law claims,

  collection matters and foreclosure.

  1
    Receivership Entities are Financial Freedom National, Inc. f/k/a Institute for Financial Freedom, Inc. and Marine
  Career Institute Sea Frontiers, Inc. d/b/a 321 Loans, Instahelp America, Inc., Helping America Group, United
  Financial Support, Breeze Financial Solutions, 321Financial Education, Credit Health Plan, Credit Specialists of
  America, American Advocacy Alliance, and Associated Administrative Services, 321Loans, Inc., f/k/a 321 Loans,
  Inc. d/b/a 321Financial, Inc., Instahelp America, Inc. f/k/a Helping America Team, Inc. d/b/a Helping America
  Group, Breeze Financial Solutions, Inc. d/b/a Credit Health Plan and Credit Maximizing Program, US Legal Club,
  LLC, Active Debt Solutions, LLC f/k/a Active Debt Solutions, Inc. d/b/a Guardian Legal Center, Guardian LG, LLC
  d/b/a Guardian Legal Group, American Credit Security, LLC f/k/a America Credit Shield, LLC, Paralegal Support
  Group LLC f/k/a Paralegal Support LLC, Associated Administrative Services, LLC d/b/a Jobfax, Cockburn &
  Associate LLC, JLMJP Pompano, LLC, Halfpay International, LLC, Halfpay NV, LLC, HP Properties Group, Inc.,
  HP Media, Inc., Omni Management Partners, LLC, Nantucket Cove of Illinois, LLC, Discount Marketing USA,
  S.A., Viking Management Services, LLC, White Light Media LLC, Blue42, LLC, National Arms, LLC, and 110
  Glouchester St., LLC, and their divisions, subsidiaries, affiliates, predecessors, successors, and assigns. [ECF Nos.
  21, 102, 222, 286].
  2
    The Receiver, after consulting with the Plaintiffs, will continue to pursue certain other litigation matters under his
  existing engagement letter with GJB on an hourly basis. The Receiver will provide the Court, upon request, with a
  list of cases being handled on an hourly basis.
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             It is not in the estate’s best interest to pay for certain litigation on an hourly basis. The

  Receiver, therefore, has conferred with his counsel, GJB, which has agreed to handle certain

  claims on behalf of the receivership estate on a contingency-fee basis. GJB has experience in

  handling these types of claims with favorable results.

             The Receiver seeks the Court’s approval of this application to retain GJB on a

  contingency basis in order to minimize the out-of-pocket administration expense to the

  receivership estate. The Receiver, therefore, believes it is in the best interest of the receivership

  estate and its victims to compensate GJB on a contingency-fee basis because proceeding on an

  hourly basis would deplete the receivership estate’s cash on hand. Moreover, the Receiver

  believes that the contingency arrangement will facilitate the initial round of consumer redress.

  The Receiver has consulted with the Federal Trade Commission who does not object to the

  proposed fee arrangement.

 II.         PROPOSED CONTINGENCY FEE AGREEMENT AND MEMORANDUM OF
             LAW IN SUPPORT.

             This Court has broad powers to appoint a receiver and to award the receiver fees for his

  services and for expenses incurred by the receiver in the performance of his duties.                See

  Securities & Exchange Commission v. Elliott, 953 F. Supp. 1560 (11th Cir. 1992); Stuart v.

  Boulware et al, 133 U.S. 78, 10 S. Ct. 242 (1890) (compensation allowed a receiver for his own

  services and those of his counsel is largely discretionary with the court from which he derives his

  appointment).

             Accordingly, by this application, the Receiver seeks to retain GJB on a contingency basis

  for the purpose of pursuing the claims against certain third parties.3 The Receiver believes that




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       The Receiver will provide a list of the third parties to the Court upon request.

                                                                2
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  compensation on a contingency-fee basis, including his fees as Receiver for work related to these

  claims will be in the best interest of the receivership estate.

         After consultation with the Receiver, GJB has agreed to be compensated on a

  contingency basis rather than an hourly basis in connection with the pursuit of these claims,

  subject to this Court’s approval. The Receiver proposes for GJB to be awarded a total of 28% of

  any recovery obtained in the litigation as a reasonable attorneys’ fee. The costs of litigation will

  be reimbursed from future recoveries by the Receivership Estate from the third-party litigation

  and will be subject to this Court’s approval.

                                       III.       CONCLUSION

         For all of the foregoing reasons, the Receiver seeks approval of the employment of GJB

  on such contingency basis for the purpose of pursuing claims against third parties. Further, the

  Receiver seeks this Court’s approval to include his services for work and oversight of the

  litigation within GJB’s contingency fee. The Receiver believes that this is in the best interest of

  the receivership estate.

                                     IV.       CERTIFICATION

         Pursuant to Local Rule 7.1.A.3, undersigned counsel hereby certifies that they have

  conferred with counsel for the Plaintiffs. The Federal Trade Commission does not object to the

  relief sought. The Office of the Attorney General, State of Florida, Department of Legal Affairs

  does not agree to the proposed contingency-fee structure, but will not oppose the Motion.

         WHEREFORE, the Receiver respectfully requests this Court to approve the retention of

  GJB on the above-described contingency basis, including compensating the Receiver from GJB’s

  contingency fee.



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            Respectfully submitted this 17th day of June 2019.

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                                                 By: /s/ Gregory M. Garno
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                                    CERTIFICATE OF SERVICE

            I hereby certify that on June 17, 2019, I electronically filed the foregoing document with

  the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

  this day on all parties registered to receive electronic notice and or some other authorized manner

  for those counsel or parties who are not authorized to receive electronically Notices of Electronic

  Filing.



                                                 By: /s/ Gregory M. Garno
                                                         Gregory M. Garno, Esq.
                                        SERVICE LIST
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